 

_U.$.j, Dis'rn_i_CT §OU\'“§%_}`FXAS
ease 4:13-mj-00543-BJ Documeml Filed 09/06/13 Pageltlt>‘§*'“i§a§§t§‘§" "

.m'__'____um_”____“mm._.~nl-l.-

in Tna uninan states Dis"nnc'r CC one '$t£t-’ ~ 6 2818
son ina Noarnnnn Dis'rnrcr orr "rt XAs
FORT WORTH DIVISION : manges nlsaal:e'reounr

Biy…

De;eiety

 

 

 

 

 

 

UNITED STATES OF AMERICA
v. No. 4:l8-MJ~543

l\/iANUEL MERCADO (O l)

CRll\/HNAL COMPLAINT

Conspiracy to Possess Witn lntent to Distribute a Controlled Substance
` (Violation of21 U.S.C. § 846)

Beginning in or befoz:e April 2018, and continuing until on or about September S,
2018, in the Northern District of Texas, and elsewhere, defendant, Manuel MERCAD(),
along With others known and nnknown, did knowingly and intentionally combine,
conspire, confederate, and agree to engage in conduct in violation 01°21 U.S.C. §§
841(a)(l) and (b)(l)(B), namely to possess Witn intent to distribute 50 grams or rnore ot`a
mixture and substance containing a detectable amount of znetharnphetarnine, a Schedule
ll controlled substance

in violation of21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(1) and (b)(l)(B).

I, the undersigned Coinplainant, being duly sworn, state the following is true and
correct to the best of my knowledge and beiief:

l. ln approximately October 2017, investigators from the Bureau of Alcohol,
Tobacco, Firearms and Explosives (ATF), Texas Departn'ient of Public Sat”ety (TDPS),
and Tarrant County Coinbined Narcotics Enforceinent Teani (CNET), began an
investigation into the drug trafficking activities of Robert Shane Barris, Brandi Lee
Gibbs, Seth .lacob Tyler Vargas, and others in the Fort Worth, Texas area. Burris, Gibbs,

Vargas, and others, have since been arrested and pled guilty to drug charges in the l?ort

Worth Division of the Northern District of Texas.

Criminai Compiaint - Pagel

Case 4:18-mj-00543-B.] Document 1 Filed 09/06/18 Page 2 of 3 Page|D 2

The subsequent investigation has revealed that MANUEL MERCARDO was an
alternative methamphetamine Source-of-supply to others involved in the drug trafficking
activities of Burris and Gib’os.
2. As a result of that investigation, on September 5, 2018, Texas Department of
Public Safety (TDPS) and Bureau of Alcohol, Tobacco, Firearms and l-Explosives (ATF)
Agents executed a State narcotics search vvarrant of residence XXX Einbrey Drive
Dallas, Texas belonging to i\/ianuel MERCADO. During the search of the residence,
Agents located over five (5) kilograms of methamphetamine in a bedroom Daring a
post»~ l\/iiranda interview, MERCADO admitted that there was one (l) pound of
methamphetamine inside the residence (l\/IERCADO did not mention the additional five
kilograms found near the separate one pound of methamphetamine MERCADO admitted
to). ln addition, MERCADO admitted to distributing methamphetamine for a prolit.
3, Because this affidavit is submitted for the limited purpose of securing a criminal
complaint, l have not included details of every aspect of the investigation lnstead, l have
only listed those facts l believe necessary to establish probable cause to believe that the
defendants committed the above~identitied crimes

4, Based on the foregoing, the Complainant believes that probable cause exists that

defendant MANUEL MERCADO, along With others both known and unknown, did

knowingly and intentionally combine, conspire, confederate, and agree to engage in

conduct in violation ot`Zl U.S.C. §§ 84l(a)(l) & (b)(l)(B),

Criminal Compiaint - Page 2

Case 4:18-mj-00543-B.] Document 1 Filed 09/06/18 Page 3 of 3 Page|D 3

namely to distribute and to possess With intent to distribute more than 50 grams of

methamphetamine in violation of 21 U.S.C. § 846.

\/_

amueilj'e“n'dy
"l`ask Force Ot`l'icer
Bureau ot` Alcohol, Tobacco, Firearms
and Explosives

SWORN AND SUBSCRIBED before me, at l 5ij p.m., this C;-Z day of
September 2018.

 

     
 

Unit"o Magistrate ludge

   

Criminal Comptaint - Page 3

